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                     UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            Lynchburg Division


     In re:                                  Chapter 11
     KAREN FOSTER,                           Case No. 12-60619
                Debtor.



     JOHN L. WYNNE,
                Movant,
     v.                                     Motion for Relief From Stay
     KAREN FOSTER,
                Debtor.



              DEBTOR/RESPONDENT'S RESPONSE TO MOTION FOR
                           PROTECTIVE ORDER

     COMES NOW the debtor/respondent, by counsel, who hereby
responds to the movant's Motion for a Protective Order.

1.   The motion is moot.
2.   Depositions were noticed by the debtor for May 4, 2012.                No
depositions were held because no one appeared to be deposed.
3.   The debtor served written discovery requests on the movant,
which were returnable on April 30, 2012.           The movant did not
respond to the written discovery requests.
4.   The debtor served subpoenas on various financial
institutions.     The subpoenas were returnable on April 30, 2012
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and the information that was subject to the subpoena has already
been provided to debtor's counsel.
5.     Therefore, there is no information regarding the movant to
protect that has not already been disclosed.            In the case of the
depositions and written discovery requests, the movant disclosed
no information.     In the case of the subpoenas, the information
has already been disclosed.
Dated: May 9, 2012                  Respectfully Submitted,
                                    GARY M. BOWMAN


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                          CERTIFICATE OF SERVICE

       I, Gary M. Bowman, do hereby certify that a true and correct
copy of this Motion was served through the CM/ECF system on May

9, 2012.

                               GARY M. BOWMAN
